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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION

                           Case No. 1:19-cv-24300-MGC

  IBALDO ARENCIBIA,

         Plaintiff,

  vs.

  AGA SERVICE COMPANY, et al.,

        Defendants.
  __________________________________/




        PLAINTIFF’S RESPONSE TO AMERICAN AIRLINES, INC.’S NOTICE OF
                SUPPLEMENTAL AUTHORITY OF MARCH 18, 2020




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           Plaintiff Ibaldo Arencibia (“Arencibia”), respectfully submits this response to
  American Airlines, Inc.’s (“AA”) Notice of Supplemental Authority (“NSA”) of March 18,
  2020, and states the following:
           AA’s latest NSA is improper because (1) it attempts to transform its Motion to Dismiss
  into a motion for summary judgment at a stage where Arencibia has not been able to present
  any evidence, and (2) it mischaracterizes and erroneously analogizes the case of Donoff v. Delta
  Air Lines, Inc. with this one, when they are factually very different.
           To use a car analogy, Donoff alleged that she was offered a 4WD, given a 4WD, but
  the dealer did not tell her about its fees. Arencibia, on the other hand, alleges that he was
  offered a 4WD, and got a 2WD (or maybe a scooter). Additionally, Arencibia alleges that
  AA is well aware that what is being sold in its stores (aa.com) is a 2WD, and it facilitates the
  sale—because it is very profitable to facilitate the sale of the 2WD. In Donoff, the plaintiff did
  not make a claim for the benefit of what it purchased; Arencibia did. He called, asked that the
  price of his trip be refunded, and his claim was denied. [ECF 1, ¶¶ 21-23]. Donoff did not
  claim that the actual product, in relation to what was offered to her, was defective; Arencibia
  does. He alleges that the product offer does not “accurately reflect[] the nature, essence and
  substance of what it covers.” [ECF 1, ¶ 38].
           AA is correct that Arencibia’s case arises from the purchase of so-called “trip
  insurance” from Allianz via AA’s website, but that is where the similarity with Donoff ends.
  The content, nature and substance of the so-called “trip insurance” are not at stake at all in
  Donoff; it is here. It is, in fact, the heart of this case.
           AA also argues in its NSA, citing Judge Middlebrook, that the Florida Deceptive and
  Unfair Trade Practices Act (“FDUTPA”) does not apply because of the exception to
  FDUTPA for insurance activity. However, Judge Middlebrook has also held that the
  applicability of the insurance-regulation exception is an affirmative defense that is not an
  appropriate basis for a motion to dismiss. See Donoff, No. 9:18-cv-81258-DMM, slip. op. at 18
  (S.D. Fla. July 9, 2019).1
           Based on this FDUTPA exemption, AA argues that Arencibia’s RICO claims are
  barred by the McCarran-Ferguson Act. It is unclear how Judge Middlebrook’s Summary
  Judgment Order in Donoff supports this. There is no discussion of RICO or the McCarran-


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      See also ECF 31 at 15-16.
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  Ferguson Act in the Order. Judge Middlebrook’s Summary Judgment Order in Donoff does
  not support dismissing Arencibia’s unjust enrichment claim either, for the reasons mentioned
  earlier. Even if we assume arguendo that the price paid for “trip protection insurance” is not
  “damages,” Arencibia claims damages in the form of the price he paid for the flights, which
  up to today, has not been reimbursed.
  Dated: March 19, 2020
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                                                            Counsel for Plaintiff, Ibaldo Arencibia


                                 CERTIFICATE OF SERVICE

         I certify that on March 19, 2020, I electronically filed the foregoing with the Clerk of
  the Court using the CM/ECF system, which in turn will serve a copy by Notice of Electronic
  Mail to all counsel of record.


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